  Case 16-30672      Doc 51    Filed 02/28/18 Entered 02/28/18 11:11:04         Desc Main
                                 Document     Page 1 of 1


                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NORTH DAKOTA

IN RE:                                            Case No. 16-30672
                                                  Chapter 7
Vortex Drain Tiling, LLC,

                Debtor.                                  ORDER
______________________________/

         On February 5, 2018, Bankruptcy Trustee Ahlgren filed a motion seeking approval

of a Stipulation for Relief from the Automatic Stay between Erik A. Ahlgren as the

Bankruptcy Trustee for McM, Inc. (Bankruptcy Case 17-30061) and Forrest C. Allred as

the bankruptcy trustee for Vortex Drain Tiling, LLC, (Bankruptcy Case 16-30672). Trustee

Ahlgren served notice of the motion, which included a summary of the terms of the

settlement, on interested parties. The Court received no objections. Based on the

information provided by the Trustees and the documents filed in this case, the Court finds

that the Stipulation is fair and equitable, reflects a balance of the risks of litigation with

potential recovery and appears to be in the best interest of both bankruptcy estates.

Therefore, IT IS ORDERED that the Motion for Approval of Stipulation [Doc 49] is

GRANTED. The Stipulation for Relief from the Automatic Stay filed as Document [Doc

48] is APPROVED. Trustee Ahlgren is granted relief from the automatic stay to pursue

cancellation of the Contract and any other legal remedy available to McM as seller under

the Contract.

         Dated this 28th day of February, 2018.



                                                  /s/ Shon Hastings
                                                  Shon Hastings, Judge
                                                  United States Bankruptcy Court
